                                                         Case 8:23-cv-00654-JVS-JDE           Document 29     Filed 06/27/23   Page 1 of 4 Page ID
                                                                                                    #:416



                                                                  1 Randy R. Haj, Bar No. 288913
                                                                    rrh@paynefears.com
                                                                  2
                                                                    PAYNE & FEARS LLP
                                                                  3 Attorneys at Law
                                                                    200 N. Pacific Coast Highway, Suite 825
                                                                  4
                                                                    El Segundo, California 90245
                                                                  5 Telephone: (310) 689-1750
                                                                    Facsimile: (310) 689-1755
                                                                  6
                                                                  7 and
                                                                  8
                                                                      Seth R. Ogden (pro hac vice)
                                                                  9   sro@iplawgroup.com
                                                                 10   PATTERSON INTELLECTUAL PROPERTY LAW, P.C.
                                                                      1600 Division Street, Suite 500
                                                                 11   Nashville, TN 37203
PAYNE & FEARS LLP




                                                                 12   Telephone: (615) 242-2400
                                                                      Facsimile: (615) 242-2221
               200 N. Pacific Coast Hwy., Ste. 825




                                                                 13
                     El Segundo, CA 90245
                     ATTORNEYS AT LAW




                                                                    Attorneys for Plaintiff
                                                (310) 689-1750




                                                                 14 BTL Industries, Inc.
                                                                 15
                                                                                          UNITED STATES DISTRICT COURT
                                                                 16
                                                                                        CENTRAL DISTRICT OF CALIFORNIA
                                                                 17
                                                                 18
                                                                      BTL INDUSTRIES, INC.,                     CASE NO. 8:23-cv-00654-JVS-JDE
                                                                 19
                                                                 20              Plaintiff,                     PLAINTIFF'S REQUEST FOR
                                                                           v.                                   ENTRY OF DEFAULT
                                                                 21                                             AGAINST DEFENDANT
                                                                 22 BEAUTY WORKS OC LLC, d/b/a                  BEAUTY WORKS OC LLC
                                                                    NEWPORT PEACHES INC.;
                                                                 23 SNEZHANA KURKINA
                                                                 24                                             [FED. R. CIV. P. 55(A)]
                                                                            Defendants.
                                                                 25
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                                                                       PLAINTIFF'S REQUEST FOR ENTRY OF DEFAULT AGAINST DEFENDANT BEAUTY WORKS OC LLC
                                                         Case 8:23-cv-00654-JVS-JDE            Document 29     Filed 06/27/23   Page 2 of 4 Page ID
                                                                                                     #:417



                                                                  1 TO THE CLERK OF THE ABOVE-ENTITLED COURT:
                                                                  2         Plaintiff BTL Industries, Inc. (“BTL”) hereby requests that the Clerk of this
                                                                  3 Court enter default in this matter, pursuant to Federal Rule of Civil Procedure
                                                                  4 55(a), against defendant Beauty Works OC LLC ("Beauty Works") for its failure to
                                                                  5 appear, plead or otherwise respond to BTL’s complaint within the time prescribed
                                                                  6 by Federal Rule of Civil Procedure 12(a)(1)(A).
                                                                  7         BTL effected service of the summons and complaint on Beauty Works on
                                                                  8 June 2, 2023, in compliance with the federal and state rules of procedure, as
                                                                  9 evidenced by the Proof of Service filed with this Court on June 7, 2023, and
                                                                 10 attached as Exhibit A to the Declaration of Randy R. Haj. Under Rule 12(a) of the
                                                                 11 Federal Rules of Civil Procedure, Beauty Works was required to answer or
PAYNE & FEARS LLP




                                                                 12 otherwise respond to the Complaint no later than June 23, 2023. Because Beauty
               200 N. Pacific Coast Hwy., Ste. 825




                                                                 13 Works failed to do so, BTL hereby requests that the Clerk enter default against
                     El Segundo, CA 90245
                     ATTORNEYS AT LAW


                                                (310) 689-1750




                                                                 14 Beauty Works in accordance with Rule 55(a) of the Federal Rules of Civil
                                                                 15 Procedure.
                                                                 16
                                                                 17
                                                                      DATED: June 27, 2023                    Randy R. Haj
                                                                 18
                                                                                                          Randy R. Haj, Bar No. 288913
                                                                 19                                       PAYNE & FEARS LLP
                                                                 20
                                                                                                           - and –
                                                                 21
                                                                                                          Seth R. Ogden (pro hac vice)
                                                                 22
                                                                                                          PATTERSON INTELLECTUAL
                                                                 23                                       PROPERTY LAW, P.C.
                                                                 24
                                                                                                          Attorneys for Plaintiff
                                                                 25                                       BTL Industries, Inc.
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                                                                       PLAINTIFF'S REQUEST FOR ENTRY OF DEFAULT AGAINST DEFENDANT BEAUTY WORKS OC LLC
                                                         Case 8:23-cv-00654-JVS-JDE            Document 29      Filed 06/27/23   Page 3 of 4 Page ID
                                                                                                     #:418



                                                                  1                        DECLARATION OF RANDY R. HAJ
                                                                  2
                                                                  3          1.   I am an attorney duly licensed to practice in the State of California and
                                                                  4 before the United States District Court for the Central District of California. I am an
                                                                  5 attorney at Payne & Fears LLP, counsel of record for plaintiff BTL Industries, Inc.
                                                                  6 (“BTL”). I have personal knowledge of the matters set forth in this declaration and
                                                                  7 if called as a witness, I could and would testify competently thereto.
                                                                  8          2.   BTL filed its Complaint for patent infringement, trademark
                                                                  9 infringement, and unfair competition (the “Complaint”) on April 14, 2023. On June
                                                                 10 2, 2023, BTL caused to be served on defendant Beauty Works OC LLC (“Beauty
                                                                 11 Works”) a copy of the Summons and Complaint. The Affidavit of Service of
PAYNE & FEARS LLP




                                                                 12 Summons and Complaint on Beauty Works was filed with this Court on June 7,
               200 N. Pacific Coast Hwy., Ste. 825




                                                                 13 2023. (Dkt. 28.) A true and correct copy of the Affidavit of Services of Summons
                     El Segundo, CA 90245
                     ATTORNEYS AT LAW


                                                (310) 689-1750




                                                                 14 and Complaint is attached as Exhibit A.
                                                                 15          3.   I am informed and believe that Beauty Works' deadline to answer or
                                                                 16 otherwise respond to the Complaint was June 23, 2023.
                                                                 17          4.   As of the date of this request to enter default, our search of this Court’s
                                                                 18 docket and files reveals that no answer, Rule 12 motion, or other appropriate
                                                                 19 response to the Complaint is on file with this Court.
                                                                 20          I declare under penalty of perjury under the laws of the United States of
                                                                 21 America that the foregoing is true and correct, and that this Declaration was
                                                                 22 executed this 27th day of June 2023, at Portland, Oregon.
                                                                 23
                                                                 24                                                           Randy R. Haj
                                                                 25                                                         Randy R. Haj
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                                                                                                                3
                                                                       PLAINTIFF'S REQUEST FOR ENTRY OF DEFAULT AGAINST DEFENDANT BEAUTY WORKS OC LLC
                                                         Case 8:23-cv-00654-JVS-JDE              Document 29      Filed 06/27/23   Page 4 of 4 Page ID
                                                                                                       #:419



                                                                  1                                   PROOF OF SERVICE
                                                                  2 STATE OF CALIFORNIA, COUNTY OF LOS ANGELES
                                                                  3       At the time of service, I was over 18 years of age and not a party to this
                                                                    action. I am employed in the County of Los Angeles, State of California.
                                                                  4
                                                                    My business address is 200 N. Pacific Coast Highway, Suite 825, El Segundo, CA
                                                                  5 90245.
                                                                  6
                                                                          On June 27, 2023, I served a true copy of the following document(s)
                                                                  7 described as :
                                                                  8
                                                                                         PLAINTIFF'S REQUEST FOR ENTRY OF DEFAULT
                                                                  9                      AGAINST DEFENDANT BEAUTY WORKS OC LLC
                                                                 10
                                                                      on the interested parties in this action as follows:
                                                                 11
PAYNE & FEARS LLP




                                                                 12 Beauty Works
                                                                    Legalinc Registered Agents, Inc., Registered Agent
               200 N. Pacific Coast Hwy., Ste. 825




                                                                 13 4 Embarcadero Ctr., Suite 1400 #85
                     El Segundo, CA 90245
                     ATTORNEYS AT LAW


                                                (310) 689-1750




                                                                 14 San Francisco, CA 94111
                                                                 15
                                                                 16          BY MAIL: I enclosed the document(s) in a sealed envelope or package
                                                                      addressed to the persons at the addresses listed in the Service List and placed the
                                                                 17   envelope for collection and mailing, following our ordinary business practices. I am
                                                                 18   readily familiar with Payne & Fears LLP’s practice for collecting and processing
                                                                      correspondence for mailing. On the same day that correspondence is placed for
                                                                 19   collection and mailing, it is deposited in the ordinary course of business with the
                                                                 20   United States Postal Service, in a sealed envelope with postage fully prepaid.
                                                                 21       I declare under penalty of perjury under the laws of the United States of
                                                                 22 America that the foregoing is true and correct and that I am employed in the office
                                                                    of a member of the bar of this Court at whose direction the service was made.
                                                                 23
                                                                          Executed on June 27, 2023, at El Segundo, California.
                                                                 24
                                                                 25
                                                                 26                                                     /s/ Brenda Mingleton
                                                                                                                   Brenda Mingleton
                                                                 27
                                                                      4876-7531-9404.1
                                                                 28

                                                                        PLAINTIFF'S REQUEST FOR ENTRY OF DEFAULT AGAINST DEFENDANT BEAUTY WORKS OC LLC
